          Case 2:08-cr-20047-PKH                 Document 56           Filed 01/23/09       Page 1 of 4 PageID #: 132
 +aAO?458      (Rev.06/05)Jud8mont
                                in a CriininElC€,ra
               ShoetI



                                        UutrenSrerusDrsrRtct'Counr
                       WESTERN                               Distriotof                          ARKANSAS
            UNITEDSTAT'HSOF AMERICA                                JUI)CMENT IN A CRIMINAL CASE
                      V.

              JOSECARZA,-RODRIGUEZ                                 CsseNumber:                   ?:08CR?0047-003
                                                                       USMNumber:                08478-010
                                                                   .EgvinI Iickey
                                                                   DcfcndFnts AttonEy
THE DEFENDANTI
fi pleaded
         guiltyto count(s) Six           ofthe lndicthent on October

E pleaded
        nolocont€nderc
                     to count(s)
  whichwasaccepted
                 by thecourt-
! wasftrundguiltyon count(s)
   allcr a pleaofnot guilty.
'lhe
       defcndantis adjudicatedguilty ofthese offcnses:

Title & Scctlon                  Nflture of Offensc                                              Offcnsc Enddd           Count
2l U.S.C.$ 841(aXl) and    Pdssession
                                   with tnftnt to DisrributeMdr€thanFiveCramsof                   08/05/200E
(bXlXBXviii);I E U.S.C,$ ? Mcthampheramine;AidingandAbeuing



       The defendnntis sertencedas provided_inpages2 through          4        ofthisjudgment. Thc scntenceis imposedwithin the
statutoryrangeafld thc lJ,S, SentencingGuidelineswere consideredas a-dvis.rrf.

E The defendanthasbecnfound not guilty on count(s)

X Count(s) _.                  One(l)                 X is   F are dismisscd
                                                                           on themotionofthe UnitedStstes.
         It is orderedthatthcdefendant   m*ustnotify_tlg_l]liltq    attorney
                                                                           for thisdistrict.wirhin   l0 4aysofany.cJrange
                                                                                                                        ojname,residence,
or mailidqdddress  utttilallfincs-restitutto-n,.costs,         .s_t$cs
                                                  andspecifllftssessments
                                                                        idpoildilit fhi;l;;gffii'i;;i;if    ii;. u orqereoropayresnruuon,
thedefen-dant   mustnotirythecdurtandUriiteosiatciiiibriiEyofniiilnii cnarrges   In cconomrc    clrcumsranccs.

                                                                   Januarv
                                                                         22.2009
                                                                   rrsr€or nnFosrr|on
                                                                                    otJudgment



                                                                   1$lRobe4.I,Dawqon
                                                                   srgnature
                                                                           of JudEc




                                                                   Jfflusrv23.2009
            Case 2:08-cr-20047-PKH                 Document 56               Filed 01/23/09         Page 2 of 4 PageID #: 133
AO 245ts      (Rev.06/0i)Jud8meDr
                                in CriminstCase
              Shcct2 - Imprisonrnpnt

                                                                                                        Judsmcnt- FaE€-_3-      of
 DEFENDAN'I';                  JOSECARZA-RODRICUEZ
 CASE NUMI]ER:                 ?:08CR20047-003


                                                               IMPRISONMENT
         l he dclcndantis hercbycommittcdto the custodyofthe united StatesBureauofprisons to
     .                                                                                        be imprisonedfor a
 total tefifl of:   seventy(70) months. No supervisionwill follow term ofimprisonment. tt i. rni"ilr'ut
                                                                                                        O J.rir,dant will be
 deportedby the Bureauof lmmigration anrrcustoms Entbrcem€ntfolowing his tcrm
                                                                                of irnDrisonnrent,




  X       The coun makesthe following recommendstions to the l]fitcau ofprisonsr
          That dcfendant be placed in a drug and aloohol treatmcnt progrun.




 X     The defendantis remdnd€dto the oustodyofthe United StatesMsfshfll.

 n     The defcndantshall sunenderto the United StatesMsrshal for this district:

       trat                                       Ll    a.m,    Ll   p,n,        on

       fl      as notified by the United SratesMarshal.

       'l
 H          he dcfendantshall sunenderfor selviceof s€ntenceat the institutiondesignatc.d
                                                                                        by the llurcau of prisofl$.
       tr      hefore
                    2 u.m.on
       n       as notifiL'dby the LjflitedStatesMarshal.

      !        as notified by the Probationor prctrial ServiccsOffice.



                                                                     RXl'URN
I haveexecutcdthisjudgmcnt as follows;




      Defend{$(dcliveredon

                                                       with a ceftified copy ofthis judgment.




                                                                                                   IJNIIF:I)STATESMARSHAL


                                                                            By
                                                                                                DEpufy UNITET)
                                                                                                            rit Atls v,tnsnnL
           Case 2:08-cr-20047-PKH                        Document 56                 Filed 01/23/09       Page 3 of 4 PageID #: 134
A() 2458    (Rcv.{J6ru5)
                      Jud8mcnr
                            rna crinrinatCulrc
            Sh.Et 5 -Criminul   ldoncbrv Penallics

                                                                                                              Jud8ment -   PaEc _l_      "f
 DEFENDAN1':                        JOSEGARZA.RODRIGIJET"
 CASENUMl]ER:                       2:08CR20047-003
                                               CRIM I NAL MONETARY PENALTIE$
     The defendffntmust pay the total c minsl ftdnctary peffilties undertheschcduleofp{ryrTrcnts
                                                                                               on sheet 6,

                       Agsesgment                                                 Flne
 TOTALS                100.00
                                                                                                                    B$glclips
                   $                                                            $ 2,500.00                        $ -0-

 n   Thc detenninstiondfrestitution is (tcfbneduntil                            Atr AmcndedJudgment in a Llrininal Case(AO l45C) will be entereo
     after suchdctcmrination,

 E   The defendsntmust make restitution(including communiryrestitution)to the t'ollowingpayccsin
                                                                                                                     the amoudtlistedbelow.

     Jl^s-t"i:-f:l{qtrylcs a partialpaymcnt'eachpalecshallrcceiveanapproxirntrlety
                                                                                prypo4igned
                                                                                          payment,
                                                                                                unlessspccrfred
                                                                                                              otherwisc
                                                                                                                      in
                               I'r'.'r cotuninbelow.
     f1?J#i['y,i,lf;:itlf.!f;;lnhst                  puiiuanr
                                                However,   tors'Lt.s.t.
                                                                    .E-566afr).';if;;hiil;;iiiJrl;?;ffid;hili
Nnme ofEsvce                                   Totfll Loss*                             RestihrtionOrdercd                      Prioritv ot Pcrcentrge




TOTALS                               $ -                                 o

D    Restitutioflflmountorderedpursuantto plca agreement $

tr   Thedefendsnt  ffust payintereston restitutioflanda fifieofmorethang2,500,unlessthcrestitutionor fine paid
                                                                                                         is     in full befbrethe
     lifteenthdaytfterthe dateofthejudgmeni,pursuant     to lE u.s.c. $ 36lz(f). All ofthe payrnenr
                                                                                                 optionson sheer6 maybesubjecr
     to penalties
                for delinqucncyanddefaull pursuanr   to I S U.S.C.g 36lZ(g).

X    Thecourtdetcrmined
                      thfltthedefeDdant
                                     docsnothovethcabilityto payinterestffid it is ondered
                                                                                         that:
     X     theinterest
                     requircment
                              is waivcdlbr the                   X       fine    E   restiturion.
     E     theintcrestrequireficntfor the            i    fine       E     restitution
                                                                                     is modifiedrrrfollows:


                                            under
;#Atit-J""i,iBfl:i"tilltll""fiBiffLT:re4uired chapters
                                                    l0eA,I 10,I l0A,andI t3Aorrittel8 rororTenses
                                                                                              committed
                                                                                                    onorafter
             Case 2:08-cr-20047-PKH                       Document 56           Filed 01/23/09         Page 4 of 4 PageID #: 135
 AO 2458         (REv.06/()5)Jrd8mrnt 'n s Crimind Cqic
                 Sh€ct6- Schedulcof

                                                                                                             iud$fient -   Psco     4    of         4
    DEFENI)ANT:                  JOSECARZA-ROI)RIGUEZ
    CASE NUMBER:                 ?:08CR20047-003

                                                            SCHEDULEOFPAYMENTS
    Having assessed
                  the dctendant'sability to p{y, payme t ofthe total uiminal monetarypensltiesare
                                                                                                  due as [ol]ows:
    A    X      Lunrpsumpuynrentof$            2,600.00             duc immediately,
                                                                                  balancedue

                !     flot lat€rthan                                     ,of
                X     in accordandc          tr C, tr ll,           tr    E,or X t; bctowlor
 B t r P*ymcntto beginimmediately
                               (maybecombined
                                            wirh                               tr C,       F D, or    e F below);or
 c t r          Paynrentin equal                          (c.9.,weekly, monthly,quarterly)installmentsof $                        over a periodof
                               (e.9.,rhonthsor ytars),to comnrence                                           --
                                                                 --                    (e.g.,l0 or 60 ,1ays.y
                                                                                                           affei'if,iJ-atedthhjulgmenqor
 D       I      Pftymcntin equsl               (e.g.,weekly,monthly,quartcrly)jnstftllmentsof $              over a periodof
                            (e,9,,monthsoryears),to conlmencc            (e.S.,30
                                                                          e.g.,l0 or 60dsys)afterrelease
                                                             -_                                        fmm imprisonmcnt  to a
                tenn ofsupcrvision;or

         tr Pflymcdtdufilg the temr ofsupcwised releasewill mmmencewithin        _           (e.g.,30 or 60 dsys] alter releaselronl
                ilhprisonment'Thecoun will setthe paymentplsn basedon an assessm;i;-t
                                                                                      ihe defenaunt'sabiliry to pay at thst tinrei or
         X      Specialinstructionsregardingthe paymentof criminal monet8rypcnatties:


                                                                                   orinc*rcar.{tion
                                                                                                atornr,e
                                                                                                     ornot
                                                                                                         ress
                l{trhlt:8dlift',rtJiii]t";"i.lvlf+t"*Xt+:,;l"J"tFJ'fill1;iffHdilil,T,lti1-t;llit-*lg,pliod


 unlessthec{)urthasexpresslyordered_otherwis€,ifthisjudFncnt
                                                        inrposes
                                                               imprisonment,
                                                                          payment
                   crinrinalmonetar                                               ofcriminalrnon
 InprrsonTrlqnt.
 NesponsrD,nry_All
                    Frosrn,',                                        tr'.ou[h
                          "* *ro.," ilJ"It"Ji'"f.i;J;t"ft,'l#'elfiliiJmadc  r1,"F;'d;].;i
                                                                                       Hffiil;1i11,ry.,i.?tlli;irEdFi"lHti:t
 Thedcfendant
           shallreceiveffcdit for all payments
                                             prcviouslyffadetowffd anycriminalrnonetary
                                                                                      pcnalties
                                                                                              imposed.



E       JointandSeveral

        Defendant
                andco-Defendant Names0.ndcaseNumbcrs(includingdefenrlant
                                                                      number),TotalAmount,Ioint andseverulArnount,
        andconcsponding
                      payee,if appropriate.




        'Ihe
E              defendantshall pay the cost ofpft)Eecution.

E       The defendantshall pay the following coun cost(s):

E       The defondantshall forfbit the defendant'sinterestin the folrowing properry
                                                                                   to the united stnresi




P-ayments  shallbcappliedin rhefolloY:il-cgl{ej:-(]).lssessmcnt,(2) resrirution
                                                                              principal,(3) rcsritution.iflkrcst,
(rl Ilne Interestr
                 (6) communityrestitution-,
                                          (7) perinltics,                                                       (4) fineprincipal,
                                                        and(8) clsti. iridiuainfcostilfproiecurionii'o'i'irin itsrs.
